Case No. 1:17-cv-00956-MEH Document 14 filed 06/29/17 USDC Colorado pg 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-00956-MEH

VICKI MIZE,

       Plaintiff,

v.

Rose’s Bella Cucina, LLC,

       Defendant.



                                 NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff, Vicki Mize, and Defendant, Rose’s Bella

Cucina, LLC (collectively the “Parties”), have agreed to settle this Action. Accordingly,

the Parties’ respectfully request the Court stay all deadlines and other matters in this

Action for a period of twenty-one (21) days while the Parties’ finalize the settlement

documents.

       Respectfully submitted this 29th day of June, 2017.

                                                  s/ Lori J. Coulter
                                                  Lori J. Coulter, Esq.
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                                                  Attorney for Plaintiff
Case No. 1:17-cv-00956-MEH Document 14 filed 06/29/17 USDC Colorado pg 2 of 2




                                 CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of June, 2017, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF System for filing and
transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:



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s/ sr




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